              CASE 0:22-cv-00098-JMB-JFD Doc. 21-1 Filed 03/21/22 Page 1 of 8




                                                                     ADOPTED
                                                                     BOARD OF SUPERVISORS
                                                                     COUNTY OF LOS ANGELES
June 12, 2018
                                                                    22      June 12, 2018
The Honorable Board of Supervisors
County of Los Angeles
383 Kenneth Hahn Hall of Administration
                                                                             CELIA ZAVALA
500 West Temple Street                                                 ACTING EXECUTIVE OFFICER
Los Angeles, California 90012

Dear Supervisors:

              APPROVE CONTRACT WITH SMARTMATIC USA CORPORATION
                 FOR PRIME CONTRACTOR IMPLEMENTATION SERVICES
            UNDER THE VOTING SOLUTIONS FOR ALL PEOPLE (VSAP) PROJECT

                                 (ALL SUPERVISORIAL DISTRICTS)
                                           (3 VOTES)

          CIO RECOMMENDATION: APPROVE (X) APPROVE WITH MODIFICATION ( )
                                DISAPPROVE ( )


SUBJECT

The Registrar-Recorder/County Clerk (RR/CC) requesting Board approval of a new Contract (#18-
003) with Smartmatic USA Corporation (Smartmatic) to manufacture (hardware and software) and
implement new custom-designed ballot marking devices (BMDs) in collaboration with Los Angeles
County (County) under the Voting Solutions for All People (VSAP) Project; and (ii) delegation of
authority to the RR/CC to amend the Contract. The resulting VSAP solution will go through testing
and Secretary of State certification for full implementation for the 2020 Presidential Election cycle.

IT IS RECOMMENDED THAT THE BOARD:
1. Delegate authority to the RR/CC, or designee, to execute a Contract with Smartmatic to provide
prime contractor services described under VSAP, substantially similar to Attachment I, effective June
12, 2018, through March 31, 2027 with three, 2-year optional extensions throughMarch 31, 2033, for
a maximum dollar amount of $282,097,321, including extensions.

2. Delegate authority to the RR/CC, or designee, to execute future amendments to extend the

                                                                            LINDELL EXHIBIT A
            CASE 0:22-cv-00098-JMB-JFD Doc. 21-1 Filed 03/21/22 Page 2 of 8
The Honorable Board of Supervisors
6/12/2018
Page 2
contract for three (3) 2-year option terms provided approval from County Counsel and Chief
Executive Office (CEO) is obtained.

3. Delegate authority to the RR/CC, or designee, to execute increases to the original contract sum by
no more than ten percent (10%), granted your Board is notified at least 14 days prior to executing
this additional authority to accommodate unforeseen increases during the contracting period.

4. Delegate authority to the RR/CC, or designee, to execute Change Notices for additional goods
and services with allocated pool dollars not to exceed $28,419,598 provided approval from County
Counsel and CEO is obtained.

5. Delegate authority to the RR/CC, or designee, to issue written notice(s) of partial or total
termination of the contract for convenience without further action by the Board of Supervisors,
provided County Counsel approval is obtained.

6. Delegate authority to RR/CC, or designee, to prepare and execute future amendments to reflect
changes to new legislation or changes to County Policy Terms and Conditions.


PURPOSE/JUSTIFICATION OF RECOMMENDED ACTION
The purpose of Contract #18-003 is the development, manufacturing (hardware and software),
implementation, certification, warranty, ongoing maintenance and support of at least 31,100 new
BMDs and related components. The BMDs are an essential component of the new voting
experience, which was envisioned, designed, and engineered over several phases of the VSAP
program, and will be used by County voters to vote and cast paper ballots at a vote center of their
choice during an election. The new BMDs and related components will be fully implemented and
deployed for the 2020 Presidential Election cycle.

Background

In 2009, through public engagement and research, the RR/CC began an unprecedented and
comprehensive effort to replace and modernize the County¶s current voting systems, the Inkavote
Plus and Microcomputer Tally System, by launching the Voting Systems Assessment Project (which
was renamed to Voting Solutions for All People in Fall 2017 to highlight the transition from an
assessment to a branded solution implementation). The vision of the project is to use a transparent
process to develop and implement voting solutions that focus on the needs and expectations of
current and future County voters. This human-centered approach is guided by the VSAP General
Voting System Principles (http://vsap.lavote.net/principles/), which were adopted at the outset to
ensure the needs of County voters remained a top priority throughout the life of the program.

The VSAP has taken a phased approach to system design, development; and implementation as
described below. The initial three phases have been completed, and the RR/CC is currently engaged
in the final two.

VSAP Multi-Phase Plan (Five Phases)

Phase I: Public Opinion Baseline Research (Completed)

In Phase I of the project, the RR/CC gathered an array of baseline data that would shape the
overarching strategy for voting system modernization. This data was gathered from election

                                                                         LINDELL EXHIBIT A
            CASE 0:22-cv-00098-JMB-JFD Doc. 21-1 Filed 03/21/22 Page 3 of 8
The Honorable Board of Supervisors
6/12/2018
Page 3
stakeholders and subject matter experts including voters, poll workers, advocates, key community
organizations and elections staff through a variety of research and engagement activities. This
research focused on evaluating the current voting system and experience, and learning what users
expect of the future voting system. The research revealed that users expect more than just an
upgrade in voting technology. This led our efforts towards modernizing the entire voting experience.

Phase II: Establishment of Principals (Completed)

Building on the research and learnings from Phase I, the VSAP Advisory Committee (AdCom) was
established to ensure the voice of the voter continued to guide the voting system design and
development process. The AdCom is a formal engagement body composed of stakeholders and
advocates that represent different communities in County. As its first task, the AdCom took theresults
from the research conducted in Phase I and used that data to create and adopt the General Voting
System Principles. These principles ensure the new voting system meets the diverseneeds of
County voters.

Following the development of the General Voting System Principles, the RR/CC began its searchfor
a new voting system by assessing the voting systems market and regulatory environment inwhich
these systems are implemented. The RR/CC also evaluated the acquisition models by which it could
acquire a new voting system that would meet the needs of County and its voters. The RR/CC
collaborated with a research team of graduate students from the UCLA Luskin School of Public
Affairs to conduct research on regulations governing voting systems testing and certification and the
impact on County¶s goal to implement a new voting system. The research found that without
changes to the regulatory environment, it would be very difficult for RR/CC to meetits goals of
acquiring and implementing a new voting system consistent with the adopted principles. These
factors along with feedback from the AdCom made a strong case for the RR/CC to acquire a new
voting system by engaging in a voting system development project.

Phase III: System Design and Engineering (Completed)

Phase III of the project marked a major transition from voting system research to the design and
development of the new voting system, including a ballot marking device and related components.
The work in Phase III of the project was spread across three (3) distinct and coordinated efforts:
voting system design, stakeholder engagement, and proactive legislative action. Tocontinue
engaging stakeholders and incorporating the expertise needed in voting system design, the VSAP
Technical Advisory Committee (TAC) was established. The TAC was formed to provide VSAP with
the necessary technical expertise in voting technology, security, transparency, and accessibility
during voting system design. The TAC is a diverse group composed of subject matter experts from a
variety of industries and fields. The expertise and guidance provided by the TAC was an invaluable
component to the completion of Phase III. In addition to engaging the members of TAC,
communication and outreach efforts engaged the public and kept it informed about project
developments.

To begin to envision and design a new voting system and remain aligned with VSAP values of
transparency and citizen participation, VSAP launched an ³Open Design Search´in January
2012.The Open Design Search engaged, through an online crowdsourcing platform, a broad range
of experts, designers, and the public to begin to gather ideas for the design of an innovative voting
system to meet the unique needs of County¶s large and diverse electorate. There were two (2)
primary components to the Open Design Search: 1) Open Innovation Challenge; and 2) Voter
Experience Brainstorming Workshops. This Open Design Search was conducted in partnership with
the Information Technology Innovation Foundation¶s Accessible Voting Technology Initiative, Election

                                                                         LINDELL EXHIBIT A
            CASE 0:22-cv-00098-JMB-JFD Doc. 21-1 Filed 03/21/22 Page 4 of 8
The Honorable Board of Supervisors
6/12/2018
Page 4
Verification Network, Open IDEO, and with funding from the Election Assistance Commission, and
resulted in more than 150 concepts for improving the County¶s voter experience.

In April 2013, County invited the award-winning global design firm, IDEO, to envision a voter
experience true to the project principles. Utilizing a human-centered iterative design process, IDEO
produced three design concepts that evolved into one model. This work produced design and
engineering specifications for a new voting experience which consists of a new Ballot MarkingDevice
(BMD), an improved Vote by Mail (VBM) ballot, an innovative Interactive Sample Ballot (ISB), and a
Tally System based on modern scalable technologies. Each of these components was the product of
extensive research, stakeholder engagement, the human-centered design process, iterative
prototyping, and consultation with the VSAP AdCom and VSAP TAC. Together these components will
provide voters with an improved and contemporary voting experience that is more accessible,
reliable, secure, and transparent.

Phase IV: Manufacturing and Certification (In Progress)

The VSAP is currently in Phase IV. An important first step of this phase is the selection of a vendor
to manufacture and help implement the new VSAP solution. The RR/CC recommends Smartmatic as
the contractor for implementation and support services. This recommendation is a result of a two-
phased open and competitive solicitation process. During this phase, the voting system will be
engineered, manufactured, tested and State certified. As a part of this process, the system will go
through a pilot implementation in November 2019. The pilot will adhere to California Elections Code,
Section 19000, which regulates the certification of voting systems. At the end of this phase, the
system will be ready for full rollout in the County.

Phase V: Phased Implementation (In Progress)

The County envisions a phased implementation of the VSAP components. This approach allows the
RR/CC to best balance the implementation risks with the risks in continuing to conduct elections with
the current, aging voting systems. The implementation timeline is as follows:

-November 6, 2018 Election (New VBM Ballots and New Tally System) ²Implementation of the new
VBM ballots and the new Tally System, which will process the new VBM ballots and tabulate the
results.

-2019 Mock Election ²Implementation of BMDs for a Mock Election in 2019. The Mock Electionwill
cover approximately 30±60 vote centers and seeks to test the system functionality and operational
processes and procedures in vote centers, as well as provide public awareness of the new voting
experience prior to voting in a live election.

-November 2019 Pilot ²Implementation and integration of the new VBM ballots, new Tally System,
BMDs at vote centers, and the ISB. The November 2019 Election is likely to be small, involving
relatively few districts. This pilot will provide learnings and opportunities for process improvement
prior to full implementation in a Countywide Presidential Primary Election.

-March and November 2020 Election (Full Rollout) ²Full implementation and integration of thenew
VBM ballots, new Tally System, BMDs deployed at vote centers and the ISB.

Scope of the VSAP Solution

The full implementation effort is comprised of six (6) major projects:

                                                                         LINDELL EXHIBIT A
            CASE 0:22-cv-00098-JMB-JFD Doc. 21-1 Filed 03/21/22 Page 5 of 8
The Honorable Board of Supervisors
6/12/2018
Page 5

1. Tally System Project ²A new Tally System and ballot layout application is required to create and
tabulate ballots for over 5.1 million voters. This system will replace the County¶s legacyvoting system,
which has been in use for decades. The new Tally System is being co-developedwith Digital Foundry
in two phases. Under an Enterprise Services Master Agreement (ESMA) Work Order No. 2016-010,
an initial version of the tally system has been developed to tabulatethe new VBM ballots. Under a
separate Board Letter, the RR/CC is recommending a Sole Source contract with Digital Foundry on
June 12, 2018 to continue the co-development effort and build a subsequent version of the Tally
System with enhanced features that will be able to tabulate new BMD ballots and be fully integrated
with the overall VSAP solution in 2020.

The initial version of the tally system is currently being tested for certification by the California
Secretary of State by August 31, 2018 use in the November 6, 2018 Election. Testing and
certification of the full-featured and integrated version of the new Tally System is expected in Fall of
2019.

2. VBM Project ²New VBM paper ballots were designed for usability and auditability. The RR/CC
will implement the new VBM ballots Countywide to the 2.2+ million VBM voters for the November
2018 election. These ballots will be tallied by the new Tally System described above. Additionally,
K&H Election Services will be responsible for VBM ballot printing and outgoing mailing services upon
Board approval of an RR/CC¶s amendment to their contract on June 12, 2018.

3. ePollbook Project ²An ePollbook solution that will support the ability to look up and verify the
registration status of voters in real time, and to comply with Conditional Voter Registration (CVR)
requirements will need to be acquired. The ePollbook Project will plan and implement the
deployment of ePollbooks at vote centers throughout the County and will also purchase and
integrate peripheral Commercial-Off-The-Shelf thermal printers that will be used to print the Ballot
Activation Mechanism QR code on BMD ballots.

4. BMD Project ²The RR/CC is recommending a contract with Smartmatic as the prime contractor
to provide engineering, manufacturing, certification testing and stewardship, and implementation of
approximately 31,100 BMDs and ballots. The BMDs were designed and prototyped by IDEO and will
be used at vote centers for the Presidential Election cycle in 2020.

5. ISB Project ²The ISB solution is a responsive web application that will integrate within the new
voting experience. This solution will support compliance with Remote Accessible Vote by Mail and
Uniformed and Overseas Citizens Absentee Voting Act voting requirements.

6. Vote Centers Project ²In 2020, the County will transition from polling places to vote centers as
outlined under the California Voter¶s Choice Act (CVCA). This new model will allow votersto vote and
cast a ballot at any vote center location in the County over an 11-day period. As part of this effort, the
RR/CC has also launched the Vote Center Placement Project with core mission to identify and place
accessible and convenient vote center locations throughout the County. The RR/CC is currently
engaged with PlaceWorks to identify vote center locations.

Implementation of Strategic Plan Goals
This request supports the County Strategic Plan as follows:

Goal III, Realize Tomorrow¶s Government Today: Our increasingly dynamic and complex
environment challenges our collective abilities to respond to public needs and expectations. We want


                                                                            LINDELL EXHIBIT A
            CASE 0:22-cv-00098-JMB-JFD Doc. 21-1 Filed 03/21/22 Page 6 of 8
The Honorable Board of Supervisors
6/12/2018
Page 6
to be an innovative, flexible, effective, and transparent partner focused on advancing the common
good.

FISCAL IMPACT/FINANCING

The total cost for the agreement is $282,097,321, which has been included in the costs projections
presented to the CEO. The funding request for FY 2018-19 was submitted to the CEO and was
recommended for approval as part of Final Changes. Funding to finance the future years will be
requested through the annual budget process.

The RR/CC intends to fund the recommended solution with a combination of funding sources for FY
2018-19. This includes previously allocated Voting Modernization Bond Act Funding (Prop41). The
RR/CC has a total of $49M available for this effort pending system certification ($9.4M in FY 2018-19
 and $39.6M in FY 2019-20). Additionally, the RR/CC is aggressively seeking alternate funding
sources at the State and federal levels to mitigate the County¶s expense. The RR/CC has identified
the following potential sources for FY 2019-20 and is awaiting State budget approval and allocation.
Based on previous formulas used for voting system replacement funding allocation, the RR/CC
anticipates receiving approximately $43.1M from the California State Budget, $11.5M from the
federal Consolidated Appropriation of Bill of 2018 and $8M from California Assembly Bill 1886.

In addition, RR/CC is working on revising the election billing methodology to include a fee to recover
system implementation costs that will not be covered by the funding sources identified above. Once
cost recovery is obtained, the fee will serve to fund future modifications and system replacement, as
needed. We will seek guidance and authorization from the Auditor-Controller on how to establish the
appropriate trust fund.

Agreement Pricing

The Agreement utilizes a fixed price model. A fixed price model provides significant predictability and
control over potential cost changes in the Agreement's pricing through the end of the contract. The
Agreement's pricing includes all software license costs, as well as the costs associated with
development, manufacturing, implementation and ongoing maintenance and support.

The maximum Contract Sum will not exceed $282,097,321. The Agreement has the following pricing
components:

(1) Contract Elements: These costs are comprised of hardware manufacturing, software
engineering, implementation (including integration, certification, training, and help desk services),
maintenance and support, and estimated taxes. These costs will not exceed $253,677,723.

(2) Optional Work: These costs are comprised of Additional Goods and Services with allocated pool
dollars in the total contract value. These costs will not exceed $28,419,598.

FACTS AND PROVISIONS/LEGAL REQUIREMENTS

The Agreement includes all Board of Supervisors¶required provisions.

In accordance with the Board¶s policy of engaging outside counsel for certain information technology
agreements, County Counsel retained the law firm Sidley Austin, LLP (Sidley) to assist in all aspects
of this procurement. Sidley, in conjunction with County Counsel, assisted the RR/CC in the

                                                                           LINDELL EXHIBIT A
            CASE 0:22-cv-00098-JMB-JFD Doc. 21-1 Filed 03/21/22 Page 7 of 8
The Honorable Board of Supervisors
6/12/2018
Page 7
development and evaluation of the RFP and the negotiation of the Agreement. Additionally, in
accordance with the Board's policy, County Counsel separately has submitted to the Board an
attorney-client privileged communication which analyzes the Agreement.

County Counsel has approved Attachment I as to form. The Chief Information Office (CIO) concurs
with the RR/CC¶s recommendation and that office¶s analysis is attached as Attachment II. CEO Risk
Management has reviewed the Agreement provisions concerning Insurance and Indemnification and
approves those provisions.

CONTRACTING PROCESS

The RR/CC released a Request for Proposal (RFP) in two phases. Phase one (1) was released on
September 18, 2017. The purpose behind this release was two-fold: 1) determine the pool of
potential contractors with the capability and capacity to carry a project of this complexity and2)
determine the potential pool of subcontractors available and capable of supporting the Prime
Contractor. The RFP detailed minimum qualifications which vendors were required to meet in order
to proceed to the second phase.

Notice of availability of the RFP was posted on the County¶s ³Doing Business with Us´website and
the entire document was available for download from the RR/CC website
(http://vsap.lavote.net/request-for-proposals/). In addition, RR/CC electronically notified eligible
vendors on its internal mailing list and promoted the RFP through its social media platforms.

This initial phase resulted in the identification of three (3) Prime Contractor vendors and seven (7)
specialty vendors. Phase Two (2) was released on January 2, 2018 and was available only to Prime
Contractor vendors who pre-qualified during the initial phase.

The RR/CC received proposals from the two pre-qualified proposers by the March 12, 2018
deadline. The proposals came from CGI and Smartmatic USA. The proposal evaluation process was
extremely thorough with six (6) evaluators and eleven (11) advisors participating. The proposals
were evaluated using the informed averaging process per County Board Policy.

The evaluation process resulted in Smartmatic USA as the top ranked, highest scored proposer. As
such, evaluators recommended Smartmatic as the vendor for this Agreement. The lower scoring
vendor, CGI, requested a debrief, which was conducted on May 4, 2018. At the time of filing, there
were no protests as a result of this solicitation.

IMPACT ON CURRENT SERVICES (OR PROJECTS)

Approval of the recommended action will ensure manufacturing and software development services
can begin for completion in time for the 2020 Presidential Election Cycle.




                                                                         LINDELL EXHIBIT A
            CASE 0:22-cv-00098-JMB-JFD Doc. 21-1 Filed 03/21/22 Page 8 of 8
The Honorable Board of Supervisors
6/12/2018
Page 8
Respectfully submitted,




DEAN C. LOGAN                                 WILLIAM KEHOE
Registrar-Recorder/County Clerk               Chief Information Officer

DCL:RF:APL:FP:VW:ca

Enclosures

c:   Chief Executive Officer
     Executive Office, Board of Supervisors
     County Counsel
     Chief Information Officer




                                                                  LINDELL EXHIBIT A
